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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP

                v.                                     CONSOLIDATED LEAD CASE

  NVIDIA CORPORATION, et al.,                             JURY TRIAL DEMANDED

                        Defendants.

                                 JOINT MOTION TO DISMISS
        Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant Samsung Electronics

 America, Inc. (“Defendant”) (collectively, the “Parties”), pursuant to Fed. R. Civ. P. 41(a)(2),

 hereby move for an order dismissing Plaintiff’s claims in this action against Defendant WITH

 PREJUDICE and Defendant’s counterclaims in this action against Plaintiff WITHOUT

 PREJUDICE with each party to bear its own costs, expenses, and attorneys’ fees.
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       DATED March 16, 2016.              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 16th day of March, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Stevenson Moore___
                                               Stevenson Moore
